CaSe 2:05-cr-20230-.]PI\/| Document 21 Filed 08/30/05 Page 1 of 3 Page|D 23

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

 

Plaintiff,
v. Criminal No.f!£r: ycgaag*Ml
COURT

 

 

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OD]: 5M{TH ) (60-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 30th day of August, 2005.

This document entered on the dockets set in cOrBIEancs
WLt'n Ruts 55 anf_|jor 32(b) FHCrP on 8 'Ezl :Q

CaSe 2:05-cr-20230-.]PI\/| Document 21 Filed 08/30/05 Page 2 of 3 Page|D 24

SO ORDERED this 30th day Of August, 2005.

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JO PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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Assistant United States Attor ey

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Jon McCalla
US DISTRICT COURT

